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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-01429-RM-STV

  YOUTH SEEN, a Colorado non-profit corporation,
  and TARA J. SMELT, an individual,

                 Plaintiffs,

  v.

  TYES INC., a Colorado non-profit corporation,
  and ALISHA D. BLACKBURN, an individual,

                 Defendants.


         JOINT MOTION FOR ENTRY OF STIPULATED PROTECTIVE ORDER


        Pursuant to Federal Rule of Civil Procedure 26(c), Plaintiffs Youth Seen and Tara J.

 Smelt and Defendants TYES, Inc. and Alisha D. Blackburn respectfully submit this Joint Motion

 for Entry of Stipulated Protective Order. As grounds, the parties state as follows:

                               CERTIFICATE OF CONFERRAL

        Pursuant to D.C. COLO. LCivR 7.1, undersigned counsel certify that they have conferred

 and jointly propose entry of the attached Stipulated Protective Order.

                                             MOTION

        For the following reasons, good cause exists for entry of the Stipulated Protective Order:

        1.      Certain documents that may be produced in this case contain sensitive or

 confidential information (hereinafter “Confidential Information”).

        2.      As provided in the attached Stipulated Protective Order, the parties have defined

 Confidential Information and the terms by which Confidential Information should be controlled
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 and disseminated during and after this litigation. The parties have also provided a process by

 which any party or non-party can object to information which is designated confidential.

        3.      The parties respectfully request that the Court enter the attached Stipulated

 Protective Order pursuant to Fed. R. Civ. P. 26(c).

        4.      Fed. R. Civ. P. 26(c) authorizes the Court to enter an order requiring the parties to

 preserve the confidentiality of information produced in discovery and restricting the use of such

 information to purposes directly related to this litigation. Courts have acknowledged that blanket

 protective orders, such as the Stipulated Protective Order in this litigation, are appropriate. See

 Gillard v. Boulder Valley Sch. Dist., 196 F.R.D. 382, 385-86 (D. Colo. 2000).

                                           CONCLUSION

        The parties respectfully request the Court enter the Stipulated Protective Order that

 accompanies this Motion.




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 Dated: November 3, 2021.            Respectfully submitted,



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                                     Attorneys for Defendants,
                                     TYES Inc. and Alisha D. Blackburn


   Dated: November 3, 2021.           Respectfully submitted,


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                                      Attorneys for Plaintiffs,
                                      Youth Seen and Tara. J. Smelt




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                          CERTIFICATE OF SERVICE (CM/ECF)

         I HEREBY CERTIFY that on 3rd day of November, 2021, I electronically filed the
 foregoing Joint Motion for Entry of Stipulated Protective Order with the Clerk of Court
 using the CM/ECF system which will send notification of such filing to the following email
 addresses:

        •   Leah P. VanLandschoot
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        •   Amy M. Maestas
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                                            s/ Julie Christman for Tamera D. Westerberg
